Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 1 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 2 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 3 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 4 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 5 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 6 of 7
Case 22-10450-RG   Doc 36   Filed 03/24/22 Entered 03/24/22 08:49:25   Desc Main
                            Document      Page 7 of 7
